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CHARLES S. LiMANDRI*                               POST OFFICE BOX 9120          OVERNIGHT MAILING ADDRESS:
                                             RANCHO SANTA FE, CALIFORNIA 92067
PAUL M. JONNA
                                                 TELEPHONE: (858) 759-9948              16236 S A N D IE G U IT O R O A D
                                                 FACSIMILE:  (858) 759-9938                  B U ILD IN G 3, S U IT E 3-15
                                                                                    R A N C H O S A N TA FE , C A 92091
JEFFREY M. TRISSELL
                                                 W EBSITE: www.lim andri.com
B. DEAN W ILSON                                                                               KATHY DENW ORTH
                                                                                               Office Adm inistrator

*BOARD CERTIFIED CIVIL TRIAL ADVOCATE
  ADMITTED TO THE DISTRICT OF COLUMBIA BAR
  ADMITTED TO THE NEW YORK BAR
  ADMITTED TO THE U.S. SUPREME COURT




                                                    October 14, 2019



The Hon. William H. Orrick III
U.S. District Court, Northern District of California
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102


         Re:       Planned Parenthood Fed. of Am., et al. v. Ctr. for Med. Progress, et al.
                   Case No. 3:16-cv-0236-WHO

Your Honor:

        The defendants write in response to the plaintiffs' request for a United States Marshal to
escort their witnesses from the courthouse. Initially, we note that the incident in question, that took
place last Friday, did not involve any kind of "threat"; rather, it involved questions from a reporter
in public areas outside the courthouse. Therefore, it was not a "security incident” that we believe
warrants the pressing into service of a uniformed armed officer. If anything, the plaintiffs could
provide their own non-uniformed and unarmed escort for their witnesses as they deem appropriate.

        The use of an official government armed escort would be prejudicial to the defense because
it would play into the plaintiffs' narrative that it was similarly necessary for them to hire uniformed
and armed security guards for certain of their personnel after the public release of the CMP videos.
Since this is an element of plaintiffs' claimed damages, the creation of such an impression would be
unfairly prejudicial to the defense.

        If the Court considers the incident in question to warrant the assigning of an official armed
security detail to the plaintiffs' witnesses, paid for at government expense, then the defendants
respectfully request that in all cases this take place outside the presence of any of the jurors. That
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The Hon. William H. Orrick III
Re: Planned Parenthood Fed. of Am., et al. v. Ctr. for Med. Progress, et al.
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would mean that any such plaintiffs' witnesses would need to be escorted from the premises either
before the jury is released or, at the end of the day, after all the jurors have left the premises. Thank
you for your consideration of this matter.


                                        Respectfully submitted,

                                        FREEDOM OF CONSCIENCE DEFENSE FUND


                                        ___________________________________
                                        /s/ Charles S. LiMandri
                                        Charles S. LiMandri, Esq.
                                        Counsel for Defendants CMP, BioMax Procurement,
                                        Gerardo Adrian Lopez, and David Daleiden

                                        (On Behalf of All Defendants)
